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aq PHILADELPHIA

pi: INSURANCE COMPANIES

A Member of the Tokio Marine Group

One Bala Plaza, Suite 100, Bala Cynwyd, Pennsylvania 19004
610.617.7900 * Fax 610.617.7940 * PHLY.com

May 7", 2012

To Whom It May Concern:

Philadelphia Indemnity Insurance Company policy (FPHSD250284), effective April 23" 2007 to April 23",
2008, was issued to LSI Lowery Systems, Inc. dba LSI Teamcentric Technologies, Inc.; The
Intergrated Business Solutions Group dba IBIS of Fenton, MO.

|, Howard Goldstein, do hereby certify that this is a true and correct copy of the above captioned policy.

“foe LZ

Howard E. Goldstein
Assistant Vice President, Specialty Lines

SWORN AND SUBSCRIBED to before me 61) this Seventh day of May, 2012:

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Notarla! Sea)
Linda M. Wentiel, Notary Public
Lower Merion Twp., Mentgomery County
th Commission 1 Expit 8 Nov. 7, 2013

(My Commission expires)

Philadelphia Consolidated Holding Corp. * Philadelphia Indemnity Insurance Company * Philadelphia Insurance Company * Maguire Insurance Agency, Inc.
Case: 4:12-cv-01005-CDP Doc. #: 1-1 Filed: 06/06/12 Page: 2 of 61 PagelD #: 16

Philadelphia Indemnity Insurance Company

(A Stock Company founded in 1927)
One Bala Plaza, Suite 100, Bala Cynwyd, Pennsylvania 19004
1-800-759-4961

Commercial
Lines
Policy

THIS POLICY CONSISTS OF:

DECLARATIONS

COMMON POLICY CONDITIONS

ONE OR MORE COVERAGE PARTS. A COVERAGE PART CONSISTS OF:
ONE OR MORE COVERAGE FORMS

APPLICABLE FORMS AND ENDORSEMENTS

BJP-190-1 (12-98)
Case: 4:12-cv-01005-CDP Doc. #: 1-1 Filed: 06/06/12 Page: 3 of 61 PagelD #: 17

IN WITNESS WHEREOF, we have caused this policy to be executed and attested, and, if required by state
law, this policy shall not be valid unless countersigned by our authorized representative.

President Secretary

BJP-190-1 (12-98)
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tu Loss Control Notice

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Welcome to PIC Loss Control Services. PIC is familiar with the unique loss control programming
needs of your organization and has achieved superior results in this area. We are committed to
delivering quality and timely loss prevention services and risk control products to your
organization. Customer satisfaction through the delivery of these quality professional products to
achieve measurable risk improvement results is our goal. We know the fulfillment of the loss
control commitment is not complete until we deliver upon our promises.

Our product specific service capabilities follow on the next few pages. They include a multi-
faceted approach to risk management covering safety program development, site audits, and
training (including a new interactive web-based training). We offer a wide range of products and
value-added services at no cost to help you achieve your risk management goals.

Please take a moment to register for our website @ www./osscontro/.com to gain full access to
these resources. Please assign yourself your own username and password. Your registration
request will be processed within two business days.

We look forward to helping to make your insurance program a success. We are standing by if you
have any questions or if we may be of further assistance. Please contact us at:

Jeffrey M. Collins, AVP & Director
Loss Control Department
Phone: 610-617-7717

E-Mail: jcollins@phlyins.com

Mark A, Konchan, Manager
Loss Control Department
Phone: 610-538-2967
E-Mail: mkonchan@phlyins.com

One Bala Plaza — Suite 100 - Bala Cynwyd, PA 19004 — (800)873-4552 — Fax## (610)617-7940
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eee § Philadelphia Insurance Companies (PIC)
AccessPHLY Loss Control Services

About Loss Control Services more...

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e Our Motto

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Contact Information more...

“« Risk Management Resources more...

e DuraFile "Your Online Safety Deposit Box"
e Intellicorp Records, Inc (Employment
\ Background Screening and MVR Checks)
oe e Non-Profit Risk Management Center

Mnt=m eloy=s> 10) Ita tos e PureSafety (online driver training course)
Ele=itiae lM e SafetyFirst (Fleet Monitoring Program)
PNA) dae « WEMED Loss Assistance Hotline

as Sojnlsnele a e AGOSNET: web-enabled EPLI (Employment
eee : arrive irrs Practices Liability Insurance) Risk Management
Balter CS Services

“| Proprietary Risk Management Services more...
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e Monthly E-Brochures

e Large Account Service Capabilities

e Loss Trend Analysis / Risk Management
Information System

e Responding to Recommendations Via www.

ee rere eee losscontrol.com

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“Outside the Box": ePIC Loss Control Services more...
(Unbundled Risk Management Services)

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Contact Information more...

About Loss Control Services back to top..

OUR MOTTO: "Innovative Solutions Producing Optimum Results": This
mantra reflects our commitment to utilize innovative products and solutions to help
our customers achieve measurable results. Customer satisfaction through the
delivery of these quality professional products is our goal. We know the fulfillment
of our loss control commitment is not complete until we deliver upon our promises.

OUR MISSION: We welcome the opportunity to demonstrate how we can tailor a
risk management program suitable to our customer’s needs. We are committed to
providing our customers with improved communications, quicker implementation of
loss control servicing initiatives, and specific benchmarking goals that help us
quantify the true value of our services.

Our product specific resources, alliances and service capabilities are highlighted in
this E-Brochure. They include a multi-faceted approach to risk management
covering safety program development, site audits, and training (including a new
interactive web-based training). We offer a wide range of products and value-
added services at financial terms to be agreed upon to help you achieve your risk
management goals. Included within this E-Brochure is also a quick synopsis of two
proprietary servicing capabilities (large account servicing and loss trend analysis).

In order to gain full access to these resources and others, please take a moment to
/ register on our website @ www.losscontrol.com.

2 You must assign yourself a username and password. Your registration request will
©) be processed within two business days.
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Risk Management Resources back to top..

These services are pre-negotiated arrangements with "Best in Class" vendors and
provide solutions to your human resources and risk management needs. PIC does
not receive any revenue from these alliances.

DuraFile: “Your Online Safety Deposit Box" back to top..

DUT AF Se occ:

www.durafile.com

Natural Disasters Will Happen - Have You and Your Clients Prepared?

Philadelphia Insurance Companies has created a partnership with DuraFile to
provide an innovative loss control tool for our insurance agents and our clients.
DuraFile is a secure online safe deposit box for people who are serious about
protecting their important documents in case of disaster. Fully encrypted and
secure, DuraFile provides members 24/7 access to vital papers from any web-
based computer. Insurance policies, home inventory, escrow documents, deeds,
birth certificates, photos - any and all kinds of documents can be easily and
securely organized and protected in your own personal online vault.

The PIC / DuraFile partnership is a win-win opportunity. As a PIC agent or
customer, you receive:

e 25% off the retail price for all DuraFile products and services (DuraFile retail
price is $96/year ($8/month) for a one-year membership and $249 for a 3-
year membership. PIC agents and insureds receive a 25% discount on single/
small quantity memberships - with a larger price discount on larger volume).

e Access to your online safe deposit box to secure insurance policies, loan
documents, home closing files, medical records, trust deeds, passports, or
any business documents accessible 24 hours a day anywhere in the world.

e The ability to provide leading edge consumer protection to your clients.

e A solution to decrease document storage space and increase employee
efficiency.

Marketing Presentation:

Cn DuraFile PHLY Marketing Presentation
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E-Brochure:
DuraFile "Your Online Safety Deposit Box"

E-Brochure Landing Page:
http://www.durafile.com/phly.htm!

IntelliCorp Records, Inc. back to top..

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G@intelliCorp

IntelliCorp Records, Inc. - IntelliCorp Records, Inc., an affiliate of the Insurance
Services Offices (ISO), is a provider of innovative decision-support products for
employment and background checks and offers the best screening tools in the
industry. Intellicorp offers a wide range of innovative pre-employment verification
and screening services, including criminal background checks, previous
employment and education references, MVRs and more.

As a PIC client, you receive the value-added benefit of reduced pricing (click here
to view our reduced pricing and coverage guide) and access to the largest criminal
history database available. IntelliCorp provides customers with industry leading
information solutions enabling them to make better decisions. No other provider
gets you closer to the comprehensive, timely and accurate data you need. Your
organization will avoid costly hiring and recruiting mistakes and limit exposure to
risk litigation. You can access IntelliCorp's employment solutions by visiting www.

losscontrol.com.

Please make certain you have your Policy Number available. Some of the
information available includes:

Workers compensation Nationwide criminal records Single-county court
records searches searches
Education verification Criminal Super Search - 50 states of Federal criminal records search in
criminal record data all U.S. district courts
tee us Motor vehicle records - all 50
Employment verification Arrest and booking records states
Personnel assessments Statewide criminal searches Social Security number verification

Drug testing Civil court records Credit reports

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Website: (Getting started):

1. Click on "Total Solution Pre-Employment Verification, Screening Services,
and Motor Vehicle Record Checks" located on the front page of www.
losscontrol.com.

2. Enter promotion code PHLY

3. As part of the activation process, you will need to submit a photocopy of one
of these documents:

o Business license
o Vendor license
o Federal identification number (on a legal/government document)

4. The system will invoice you when you register. You can pay by monthly
invoice or credit card. If you choose monthly invoicing, you must complete
our Credit Authorization Form. You can submit the form on-line during the
registration process or fax it to 440-505-0261. IntelliCorp submits all
invoices through e-mail and will invoice you on the first business day after
the end of the month. If you pay by credit card, you will receive an e-mail
statement.

Marketing Presentation:
IntelliCorp Marketing Presentation

E-Brochure:
IntelliCorp Records, Inc.

Nonprofit Risk Management Center back to top..

Nonprofit
Risk Management
Center rv"

Nonprofit Risk Management Center - The Center offers risk management help
specifically designed to address the needs of nonprofit organizations. FREE
Workplace Safety Tool Kit, Business Continuity Planning course, Pillars of
Accountability, tutorials, articles, e-news, risk management glossary and other
downloadable resources. Affordable resources include online training, monthly Web
Seminars, web-based risk assessment tool (Nonprofit CARES) and My Risk
Management Plan. All of these resources can be accessed through www. losscontrol.

com.

Resources include the following:
Workplace Safety is No Accident
Business Continuity Planning Course

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} Pillars of Accountability

1 Risk Management Tutorials

Articles

E-News

Glossary

State Liability Laws for Charitable Organizations and Volunteers
Risk Management Classroom

Web Seminars

My Risk Management Plan

Nonprofit CARES

PureSafety (online driver training course) back to top..

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oeSafieGy, - This interactive online defensive driver training course is
designed to teach the driver how to minimize the risks involved with driving any
type of vehicle, and how to avoid dangerous driving situations and improper driving
techniques. These are skills that everyone should know master, both on and off the
job. This can be accessed through www.losscontrol.com at no cost to PIC
policyholders. A final exam and completion certificate are also available online.

| SafetyFirst (Fleet Monitoring Program) back to top..

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"A pro-active approach to monitoring your organization’s fleet
exposures."

Named "Best in Class" for reducing automobile collisions and
their related costs.

Driver Monitoring Program - SafetyFirst Systems, LLC ("SafetyFirst") provides a
vehicle driver monitoring system uniquely geared to the transportation industry.
SafetyFirst's primary product is a driver performance feedback service that
highlights risk-taking behaviors. Independent studies by major insurance
companies have shown a 20-65% reduction in collisions when information
developed by the program is used to coach drivers on their performance and
influence a behavior change. "1-800-550-SAFE" decals are placed on rear of
commercial vehicles (vans, pickups, delivery trucks, tractor trailers, etc.) that
encourage motorists to report risk-taking behaviors. Calls are received at staffed,
‘round the clock (24/7/365), dedicated call center for documentation and reporting
to the client for management review.

Subject to negotiated terms, this program provides:

Sales and Enrollment by Safety First staff

Implementation and support materials

Coaching tools for managers

Countermeasure fact sheets for drivers

Report Analysis (trend spotting) by Safety First specialists

Real time data at their website (ad hoc reporting and preformatted exception
reports)

e AND, Monthly Driver Training Package delivered by email

Safety First - FIVE Reasons Why!!

e Saves Lives - Reduces accidents because drivers know they are operating in
a supervised environment. Confirmed by several insurance carrier studies.

e Retains Employees - Positive recognition.

Saves Money - Studies by major insurance companies reported: if properly
utilized, driver-monitoring programs lower accident rates.

e Enhances Clients Public Image - Shows concern for public safety, letting
the driving public know you care when you make it easy to report driving
performance.

e Promotes job stability and security - Shows your organization’s
investment in their career.

[72] website:
ea http://www.safetyfirst.com/

#8] Marketing Presentation:
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Safety First Marketing Presentation.ppt

Marketing Brochure:
Safety First Brochure - Client Draft.doc

i] A Drivers Guide To Safety First

Reviewing Safety First Management Reports
Motorist Observation Reports (MOR)
Handling Motorist Observation Reports

Video Presentation:
Safety First Television Video

WEMED Loss Assistance Hotline back to top..

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WEMED Loss Assistance Hotline - Philadelphia Insurance Companies (PIC) has
partnered with nationally recognized law firm Wilson, Elser, Moskowitz, Edelman
and Dicker LLP (WEMED) to offer a Loss Assistance Hotline. This hotline provides
policyholders with 2 free hours of legal consultation per inquiry with knowledgeable
attorneys on any matter that could potentially result in a claim under your PIC
policy. This Loss Assistance Hotline is NOT a loss reporting hotline. Please visit
www.losscontrol.com for full details including contact information.

# You can also contact WEMED online to inquire about loss assistance by
visiting the following Website:
WEMED Loss Assistance Hotline

Technical Bulletin:
WEMED Loss Assistance Hotline.doc

Marketing Presentation:

"] Loss Assistance Hotline Marketing Presentation.ppt

: ; “ Liability Insurance) Risk Management Services

AGOSNET: web-enabled EPLI (Employment Practices back to top..

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AGOSNET - LOGO es EEC
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Benefits of the PIC AGOSNET Program:
TRAINING

e Weekly Manager’s Training Bulletins

e SmartTrain.com® - web-based training courses enable you to keep
your managers and supervisors trained on the most up-to-date and relevant
information. Courses provided are:

o Abuse Prevention — This program covers five key areas: (1) What is
child sexual abuse, (2) the damage caused by child sexual abuse, (3)
the warning signs of child sexual abuse and of abusers, (4) how to
appropriately respond to suspected child sexual abuse, and (5) what
caring adults can do to prevent child sexual abuse in their workplaces,
homes, and communities.

o Sexual Harassment — This module explores a common and
devastating problem for organizations—sexual harassment. Topics
include the personal and economic impacts of sexual harassment; the
legal duties of managers and supervisors; what sexual harassment is
and isn’t; how to spot and prevent potential sexual harassment, how to
defend your organization with effective reporting systems, the
importance of investigations, and more.

o Discrimination — This module discusses the prohibitions against
discrimination on the basis of race, color, national origin, religion,
disability, sex, and age. It explains what discrimination is; how even
well-meaning conduct can be interpreted as discriminatory; the
personal and economic impacts of discrimination; the legal duties of
managers and supervisors; how to spot and prevent potential
discrimination; how to defend your organization with effective
reporting systems; the importance of investigations, and more.

o Smart Hiring — More now than any other time prior to this century,
organizations looking to hire are presented with a wide range of
candidates. There are numerous economic, social, and cultural changes
that are having, and will continue to have, a profound impact on the
hiring process. This module is designed to reinforce the importance of
fair, lawful, and consistent hiring practices. Such practices will help
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organizations mitigate the unnecessary exposures to liability created
by incorrect, improper, and inconsistent hiring procedures ... and, in
the end, to promote successful new hires.

HR & RISK MANAGEMENT TOOLS & RESOURCES

e Anonline library of articles - management briefs on a range of workplace
related topics for risk managers, human resources professionals, and other
upper-level management

e Best Practices Knowledge Base - a searchable archive of real-life
workplace scenarios that provides insight into the proper management of
workplace-related risks and exposures

e« Self-Assessments - assist in evaluating your company’s risk exposure

levels and provide training to shore up your defense

Model Employment Handbook

Model Workplace Policies and Forms

Links to hundreds of helpful workplace-related websites

Communication Center - electronic access to other AGOSNET™ users

within your organization

Access to these services are available through www.losscontrol.com.

LOOKING FOR OPTIONS?

Additional AGOS resources, which are shown below, can be added to your PIC
AGOSNET with preferred PIC pricing.

e TRAC™ (Teamwork, Respect, Awareness, and Communication) Web-based
training for all employees

SmartTrain.com™ web-based training for Managers and Supervisors
Family and Medical Leave Act (FMLA)

Workers' Compensation Fraud & Retaliation

Wrongful Termination

Workplace Violence

Unsafe Acts

Workplace Theft

Ethics

Diversity

SmartTrain.com™ web-based training for Human Resource Managers and
Senior Managers

e Hotlines

e Smarter Adults - Safer Children™ (SASC)

ee For more information, contact AGOS directly at 800-205-5262 and identify yourself
Hie as a Philadelphia Insurance Companies insured.

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E-Brochure:
i AGOSNET Employment Practice Liability Risk Management E-Brochure

Marketing Presentation:
AGOSNET Marketing Presentation - Introducing AGOSNET

Proprietary Risk Management Services back to top..

I. Monthly E-Brochures

As a registered user to the www.losscontrol.com website you are eligible to receive

our monthly loss control E-Brochures: (see below list of some archived E-
Brochures)

Below is a sampling of some Archived E-Brochures:

Cold Weather Freeze-Up Precautions

Driver Eligibility Criteria

IntelliCorp Records, Inc.

HIPPA

Sexual Harassment in the Worklplace
Employment Background Checks

7 Employee Discipline

Crisis Management and Emergency Response

} Windstorm and Rainstorm Emergency Checklists
Disaster Support - Temporary Shelters

Slips and falls

Transporting People with Special Needs and Wheelchair Securement
DuraFile: Your Online Safety Deposit Box
De-escalation

Schools - Security Alert!!!

m II. Large Account Service Capabilities

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Effective communication between PHLY Associates (Marketing, Underwriting,
Claims, and Loss Control), the policyholder and the producer is the key ingredient
to the development and implementation of servicing a large account.

Ten Reasons Why: Through proper initiation, selling, coordination, analysis,
monitoring and measuring, and the Ten Reasons Why, PHLY will demonstrate
once again why we are the superior market for niche large accounts.

1. LOSS REDUCTION: Improved loss ratio performance
2. ACCOUNT SELECTION: Involvement in prospective stage allows us to fully
evaluate exposures and controls and management practices
3. ACCOUNT RETENTION: service plan will increase our presence to our
customers and improve loyalty
4. BENCHMARKED APPROACH TO QUANTIFY LOSS CONTROL
5. ENHANCED CUSTOMIZED SERVICE: Full availability to our innovative loss
control resources with specialized service capabilities. Annual stewardship
meetings conducted prior to renewal!
6. LOSS TREND ANALYSIS: Automated proprietary loss trend analysis
capabilities
7. CULTIVATE LONG-TERM RELATIONSHIPS
8. IMPROVED COMMUNICATION:
o INTERNALLY WITHIN PHLY DEPARTMENTS
o EXTERNALLY WITH CUSTOMERS AND AGENTS
9. IMPROVED AGENT SATISFACTION: Better relationship between Agent,
customer and PIC
10. A PLETHORA OF RESOURCES - Our technology provides easy access to
Loss Control information, links, E-Brochures, etc

Defining Benchmarking Standards

Standards of performance will be established. These include Results Standards and
Activity Standards.

e Results Standards — Results will be based on benchmarked historical loss
data for each business insurance line of coverage. PIIC will focus on
achieving agreed upon loss reduction goals with the insured. Where the client
has exceptional loss experience, PIIC will focus on Activity Standards which
include "Interest-Sustaining Activities" and program reviews as a partnership
to help maintain the experience.

e Activity Standards - This will be measured by completing agreed upon
specific location surveys, training courses and providing program support
materials.

oe Each goal should be based off actual loss trends and must be developed with
S| impact in mind - including exposure reduction, frequency reduction, severity
Sa reduction, and/or customer retention. If the account has been loss free, then

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] potential causes of loss (controlled exposures) should be addressed.

III. Loss Trend Analysis / Risk Management Information System

e Ability to analyze claims data through a windows™-based software system.

e Ability to utilize claims data from any length or time period.

e Ability to provide extensive loss trending data analysis by line of coverage,
loss frequency, loss severity, cause of loss, location, reporting time, reporting

day, etc.
e Ability to chart and graph loss trend data and import into a PowerPoint™-

presentation.
e Ability to benchmark risk’s loss data against product loss data.

For additional value-added safety information, please log on to our loss control
website and register at: www.losscontrol.com

IV. Responding to Loss Control Recommendations via www.losscontrol.com

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Philadelphia Insurance Company’s Loss Control! department has streamlined the
recommendation response process by offering our policyholders and agents a new
and exciting feature to respond to our recommendation letter(s) online, via our loss
control website (www.losscontrol.com).

In order to take advantage of this exciting new feature, you must be a registered
j user to www.losscontrol.com

If you are not a registered user, you will need to do the following:

e Log into www.losscontrol.com

e Select the register button
e Fill in the required information
e Select the submit button
o You will receive a general email stating we have received your
registration application
e LC personnel will sign your username and password up to our website

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o You will receive an email advising that your username and password
have been set-up
o You may begin using your PIIC website

Once you are registered to our website or if already a current customer, you will
then need to log into www.losscontrol.com with your username and password and

select the following button.

E-Brochure:
Respond to Recommendations via losscontrol.com

"Outside the Box" back to top..

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ePIC Loss Control! Services (Unbundled (For-Fee) Risk Management
Services Available)

For Policyholders:

Do you have a need for "Fee-Based” loss control services to fill
that last missing piece in you Risk Management program? ePIC
Loss Control is your total solution to fill the void where loss control
services are not included as part of your insurance policy, or are
beyond the scope of what was provided as part of the original
insurance agreement.

1. ePIC Loss Control Services’ customized loss control surveys, risk
management programs and seminar training modules are specific to your
operation providing maximum impact to the organization.

2. Since you are all ready an established policyholder, ePIC’s partnership and
team approach understands the individualized attention your organization
demands in developing cost effective solutions to reduce your exposure to
loss.
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3. ePIC Loss Contro/ Services’ offers a preferred fee structure arrangement that
is only offered to Philadelphia Insurance Company policyholders.

For Agents and Brokers:

Philadelphia Insurance Companies (PIC) understands that not fogRe

all accounts meet PIC’s strict underwriting criteria and
guidelines necessary to become PIC policyholders. In this
instance, PIC has created a new loss control and risk [
management profit center called ePIC Loss Control Services.
PIC would like to provide its preferred Agents and Brokers with
an opportunity to allow us to become more knowledgeable with your account so
your client and PIC can potentially have a future relationship. ePIC Loss Control
Services is that opportunity.

Contracting loss control service work through ePIC Loss Control Services will
have two prominent benefits:

1. We will set the foundation for loss frequency and severity reduction through
the implementation of ePIC Loss Control Services’ customized risk
management programs and training modules.

2. We will create a team approach to risk management by enabling us to
become more knowledgeable about an account's risk management
philosophy, safety practices and procedures.

ePIC Loss Control! Services would also like to be your primary choice for risk
management services for accounts that do not quite fit into the PIC underwriting
appetite. We will provide the same quality customized loss control services for
these clients as well.

Please take the time to visit our new website and review the attached marketing
brochures. We look forward to servicing your client’s risk management needs.

Marketing Brochure and Information: (call for specific pricing)
ePIC Online Interactive Defensive Driver Training

ePIC Loss Control Services Brochure
ePIC LCS - Program Highlight Sheet
ePIC LCS Loss Control Programs
ePIC LCS Loss Control Training

1 Contact Information back to top..

sem HOME OFFICE CONTACTS

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™ Jeffrey M. Collins, ARM

1 Vice President

Home Office - Bala Cynwyd, PA
Phone: 800-873-4552 ext. 7717
E-Mail: jcollins@phlyins.com

Mark A. Konchan, ARM CSP

Loss Control Manager

(Mid-Atlantic Region, Southeast, Florida Regions)
Home Office —- Bala Cynwyd, PA

Phone: 800-873-4552 ext. 2967

E-Mail: mkonchan@phlyins.com

Joe Sweeney, Loss Control Consultant
Home Office - Bala Cynwyd, PA

Phone: 800-873-4552 ext. 5876

E-Mail: jsweeney@phlyins.com

REGIONAL OFFICE CONTACTS

Brett Hines, Regional Loss Control Manager
(Central, Southwest Regions)

Independence, MO

Phone: 877-439-7459 Ext. 3267

E-Mail: bhines@phlyins.com

Leslie Dugan, Regional Loss Control! Manager
(Sunbelt, West, Northwest, Rocky Mountain Regions)
Mission Viejo, CA

Phone: (800) 994-4121 ext. 236

E-Mail: Idugan@phlyins.com

Ron Quattrochi, Sr. Loss Control Consultant
(Northeast, Metro Regions)

Stoughton, MA

f Phone: 888-292-3881 ext. 268

E-Mail: rquattrochi@phlyins.com

1 George Kalule, Loss Control Consultant
§ (North Central, Ohio Valley Regions)
Naperville, IL
Ma Phone: 800-547-9967 ext. 2256

m@ E-Mail: gkalule@phlyins.com

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IMPORTANT NOTICE - The information and suggestions presented by Philadelphia
Indemnity Insurance Company in this E-Brochure is for your consideration in your loss
prevention efforts. They are not intended to be complete or definitive in identifying all
hazards associated with your business, preventing workplace accidents, or complying with
any safety related, or other, laws or regulations. You are encouraged to alter them to fit
the specific hazards of your business and to have your legal counsel review all of your
plans and company policies.

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POLICYHOLDER NOTICE (LOSS ASSISTANCE HOTLINE)

We are pleased to enclose an original copy of your policy. Please take a
moment to review the policy to ensure it meets your needs.

Please feel free to contact our local sales representatives or our customer
service unit at 877-GET-PHLY, if you need further assistance.

As a free loss control benefit to our policyholders, Philadelphia Insurance
Companies (PIC) has partnered with a nationally recognized law firm Wilson,
Elser, Moskowitz, Edelman and Dicker LLP (WEMED), to offer a toll-free Loss
Assistance Hotline. The toll-free loss assistance hotline telephone number is 1-
877-742-2201. You can also contact a WEMED attorney online at either of the
following internet addresses: http://www.wemed.com/pic/ or
<http://;www.losscontrol.com> . This hotline provides policyholders 2 free
hours of legal consultation with a knowledgeable attorney on any matter that
could potentially result in a claim under your PIC policy. This loss assistance
hotline is NOT a loss reporting hotline. To report a claim, read the claim
reporting instructions in your Policy, or ask your agent. If you have questions
concerning the loss assistance hotline, please contact us at 1-800-759-4961
x7717.

The Philadelphia Insurance Companies thanks you for choosing us to meet your
insurance needs.

Sincerely,

Philadelphia Insurance Companies
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Philadelphia Insurance Companies
One Bala Plaza, Suite 100, Bala Cynwyd, Pennsylvania 19004

Philadelphia Indemnity Insurance Company

COMMON POLICY DECLARATIONS

Policy Number: PHSD250284

Named Insured and Mailing Address: Producer: 5167

LSI Lowery Systems, Inc. dba LSI Teamcen GALLAHER-TANGORA-RODES INSURANCE
The Intergrated Business Solutions Group P.O. BOX 798

1329 Horan Dr MEXICO, MO, 65265

Fenton, MO 63026-1939

Policy Period From: 04/23/2007 To: 04/23/2008 at 12:01 A.M. Standard Time at your mailing

address shown above.

Business Description: Computer Bureaus/Consultants

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS
POLICY, WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM IS
INDICATED. THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.

PREMIUM
Commercial Property Coverage Part

Commercial General Liability Coverage Part
Commercial Crime Coverage Part

Commercial Inland Marine Coverage Part
Commercial Auto Coverage Part

Businessowners

Workers Compensation

Miscellaneous Professional 6,119.00

Total $ 6,119.00

FORM (S) AND ENDORSEMENT (S) MADE A PART OF THIS POLICY AT THE TIME OF ISSUE
Refer To Forms Schedule

*Omits applicable Forms and Endorsements if shown in specific Coverage Part/Coverage Form Declarations

22
Cf a CO

Countersignature Date Authorized Representative

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Philadelphia Indemnity Insurance Company

Form Schedule — Policy

Policy Number: PHSD250284

Forms and Endorsements applying to this Coverage Part and made a part of this
policy at time of issue:

Form Edition Description

BJP-190-1 1298 Commercial Lines Policy Jacket

LAH-Notice 1002 =Policyholder Notice (Loss Assistance Hotline)
Common Policy Dec 0100 Common Policy Declarations

PP 0701 0701 ~—s~Prrivacy Policy Notice

ILO0990 0703 MO - Disc! Pursuant to Terrorism Risk Ins Act of 2002

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PI-PLSP-1 (08/2004)

Philadelphia Insurance Companies

One Bala Plaza, Suite 100, Bala Cynwyd, Pennsylvania 19004
610.617.7900 Fax: 610.617.7940

PROFESSIONAL LIABILITY FOR SPECIFIED PROFESSIONS

Philadelphia Indemnity Insurance Company U Philadelphia Insurance Company
DECLARATIONS

Policy Number: PHSD250284

NOTICE: THIS IS A CLAIMS MADE AND REPORTED POLICY. PLEASE READ THIS POLICY
CAREFULLY. THE LIMIT OF LIABILITY AVAILABLE TO PAY JUDGMENTS OR SETTLEMENTS
SHALL BE REDUCED BY AMOUNTS INCURRED FOR INVESTIGATION AND LEGAL COSTS.
FURTHER NOTE THAT AMOUNTS INCURRED FOR SUCH COST SHALL BE APPLIED AGAINST
THE DEDUCTIBLE AMOUNT

Item 1. Named Insured and Address:

LSI Lowery Systems, Inc. dba LSI Teamcen
The Intergrated Business Solutions Group
1329 Horan Dr

Fenton, MO 63026-1939

Item = 1a. Agent Name and Address:

GALLAHER-TANGORA-RODES INSURANCE

P.O. BOX 798
MEXICO, MO, 65265

ltem 2. Policy Period: From: 04/23/2007 To: 04/23/2008
(12:01 A.M. Standard Time)
Item 3. Premium: $ 6,119.00
Item 4. Limits of Liability: (A) $ 1,000,000 each Claim, including Claims Expense
(B)$ 1,000,000 Annual Aggregate, including Claims
Expense
Item 5. Deductible: $ 7,500 Deductible per Claim
Item 6. Retroactive Date: 04/01/2005
Items 7. Additional Premium for Supplemental Extended Reporting Period: $ 4,589.25
Item 8, Named Insureds Profession:

Computer Bureaus/Consultants

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Endorsements:

By accepting this Policy, the Insured agrees that the statements in the application are personal
representations, that they shall be deemed material, and that this Policy is issued in reliance upon the
truth of such representations.

Authorized Representative Countersignature Countersignature Date

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Philadelphia Indemnity Insurance Company

Form Schedule — Miscellaneous Professional Liability

Policy Number: PHSD250284

Forms and Endorsements applying to this Coverage Part and made a part of this
policy at time of issue:

Form Edition Description

PI-PLSP-1 0804 Specified Professions Policy Declarations Page
PI-BELL-1 0406 si Bell Endorsement

PI-PLSP-2 0804 _— Professional Liability for Specified Professions
PI-PLSP-10 0497 + Nuclear Energy Liability Exclusion

PI-PLSP-16 0497. — Pending and/or Prior Litigation Exclusion
PI-PLSP-102 0497. ~— Bankruptcy/Insolvency Exclusion

PI-PLSP-145 0804 Computer/Technology Consultant Pro-Pak Elite
PI-SLD-001 0103 Capon Losses from Certified Acts of Terrorism
PI-ARB-1 MO 0305 ‘Binding Arbitration

PI-DEF-NOTICE-MO 0401 Defense Within Limits

PI-Notice-MO 0401 Important Notice

PI-PLSP-MO-1 1004 Missouri Amendatory Endorsement

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PP-0701 07-01

PHILADELPHIA INSURANCE COMPANIES
PRIVACY POLICY NOTICE

Philadelphia Insurance Company & Philadelphia Indemnity Insurance Company

The Philadelphia Insurance Companies values your privacy and we are committed to protecting
personal information that we collect during the course of our business relationship.

The collection, use and disclosure of certain nonpublic personal information are regulated by law.

This notice is for your information only and requires no action on your part. It will inform you about
the types of information we collect and how it may be disclosed. This does not reflect a change in
the way we do business or handle your information.

Information We Collect:

We collect personal information about you from the following sources:

e Applications or other forms such as claims forms or underwriting questionnaires completed
by you;

e Information about your transactions with us, our affiliates or others; and

e Depending on the type of transaction you are conducting with us, information may be
collected from consumer reporting agencies, health care providers, employers and other third
parties.

Information We Disclose:

We will only disclose the information described above, as permitted by law, to our affiliates and
non-affiliated third parties when necessary to conduct our normal business activities.

For example, we may make disclosures to the following types of third parties:

¢ Your agent or broker;

e Parties who perform a business, professional or insurance function for our company,
including our reinsurance companies;

e Independent claims adjusters, investigators, other insurers, medical care institutions and
attorneys who need the information to investigate, defend or settle a claim involving you;

e Insurance regulatory agencies in connection with the regulation of our business; and

e Lienholders, mortgagees, !essors or other persons shown on our records as having legal or
beneficial interest in your policy.

We do not sell your information to others for marketing purposes.
We do not disclose the personal information of persons who have ceased to be our customers.

Protection of Information:

The Philadelphia Insurance Companies maintains physical, electronic and procedural safeguards
that comply with state and federal regulations to protect the confidentiality of your personal
information. We also limit employee access to personally identifiable information to those with a
business reason for knowing such information.

How to Contact Us:

Feel free to call or write to us for additional information.

Philadelphia Insurance Companies

One Bala Plaza, Suite 100

Bala Cynwyd, Pennsylvania 19004
(877)-438-7459

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POLICY NUMBER: PHSD250284 IL 09 90 07 03

THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
INSURANCE ACT OF 2002. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE
OR CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

MISSOURI — DISCLOSURE PURSUANT TO TERRORISM
RISK INSURANCE ACT OF 2002

SCHEDULE

Terrorism Premium (Certified Acts) $ Included

Additional information, if any, concerning the terrorism premium:

NOTE: The premium above is for certain losses resulting from certified acts of terrorism as covered
pursuant to coverage provisions, limitations and exclusions in this policy. You should read the defini-
tion in your policy carefully, but generally speaking, "certified" acts of terrorism are acts of foreign
sponsorship that exceed $5 million in aggregate losses to the insurance industry and which are subse-
quently declared by the U.S. Secretary of the Treasury as a certified terrorist act under the Terrorism
Risk Insurance Act. Some losses resulting from certified acts of terrorism are not covered. Coverage
for noncertified acts of terrorism may not be provided. A major example of "noncertified” acts of terror-
ism would be an act of terrorism committed by a domestic group. Read your policy and endorsements
carefully.

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Disclosure Of Premium B. Disclosure Of Federal Participation In Payment

iL 09 90 07 03

In accordance with the federal Terrorism Risk In-
surance Act of 2002, we are required to provide
you with a notice disclosing the portion of your
premium, if any, attributable to coverage for terror-
ist acts certified under that Act. The portion of your
premium attributable to such coverage is shown in
the Schedule of this endorsement or in the policy
Declarations.

© ISO Properties, Inc., 2003

Of Terrorism Losses

The United States Government, Department of the
Treasury, will pay a share of terrorism losses in-
sured under the federal program. The federal
share equals 90% of that portion of the amount of
such insured losses that exceeds the applicable
insurer retention.

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PI-BELL-1 (04/06)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

BELL ENDORSEMENT

Unless otherwise stated herein, the terms, conditions, exclusions and other limitations set forth
in this endorsement are solely applicable to coverage afforded by this endorsement, and the
policy is amended as follows:

1. SCHEDULE OF ADDITIONAL COVERAGES AND LIMITS

The following is a summary of Limits of Insurance or Liability and/or additional coverages
provided by this endorsement. This endorsement is subject to the provisions of the policy to
which it is attached.

Identity Theft Expense $5,000
Terrorism Travel Reimbursement $5,000
Emergency Real Estate Consulting Fee $5,000
Temporary Meeting Space Reimbursement $5,000
Workplace Violence Counseling $5,000
Kidnap Expense $50,000
Key Individual Replacement Expenses $50,000
Image Restoration and Counseling $5,000
Donation Assurance $5,000
Business Travel $5,000

ll. CONDITIONS
A. Applicability of Coverage

Coverage provided by your policy and any endorsements attached thereto is amended
by this endorsement where applicable.

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PI-BELL-1 (04/06)

B. Limits of Liability or Limits of Insurance

1. When coverage is provided by this endorsement and another coverage form or
endorsement attached to this policy, the greater limit of Limits of Liability or Limits of
Insurance will apply. In no instance will multiple limits apply to coverages which may
be duplicated within this policy. Additionally, If this policy and any other coverage
part or policy issued to you by us, or any company affiliated with us, apply to the
same occurrence, offense, wrongful act, accident or loss, the maximum Limits of
Liability or Limit of Insurance under all such coverage parts or policies combined
shall not exceed the highest applicable Limits of Liability or Limit of Insurance under
any one coverage part or policy.

2. Limits of Liability or Limits of Insurance identified in Clause |. above are not excess
of, but are in addition to the applicable Limits of Insurance stated in the Declarations.

C. Claim Expenses

Coverages provided herein are not applicable to the generation of claim adjustment
costs by you; such as fees you may incur by retaining a public adjuster or appraiser.

Ill. ADDITIONAL COVERAGES
A. Identity Theft Expense

We will reimburse any present Director or Officer of the Named Insured, for “Identity
Theft Expenses” incurred as the direct result of any “Identity Theft” first discovered
and reported during the policy period; provided that it began to occur subsequent to
the effective date of the Insured’s first policy with the Company. The limit for this
coverage will be $5,000 per policy period for all Insureds combined. No deductible
applies to this coverage.

B. Terrorism Travel Reimbursement
The Company will reimburse any present Director or Officer of the Named Insured in the
event of a “Certified Act of Terrorism” during the policy period which necessitates that
he/she incurs “Emergency Travel Expenses.” The limit for this coverage will be $5,000
per policy period for all Insureds combined. No deductible applies to this coverage.

C. Emergency Real Estate Consulting Fee
The Company will reimburse the Insured any realtor’s fee or real estate consultant's fee
necessitated by the Insured’s need to relocate due to the “Unforeseeable destruction” of
the Insured’s principal location listed on the Declarations page during the policy period.
The limit for this coverage will be $5,000 per policy period for all Insureds combined. No
deductible applies to this coverage.

D. Temporary Meeting Space Reimbursement

The Company will reimburse the Insured for rental of meeting space which is

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necessitated by the temporary unavailability of the Insured’s primary office space due to
the failure of a climate control system, or leakage of a hot water heater during the policy
period. Coverage will exist only for the renting of temporary meeting space required for
meeting with parties who are not insured under this policy. The limit for this coverage
will be $5,000 per policy period for all Insureds combined. No deductible applies to this
coverage.

E. Workplace Violence Counseling

In the event that an incidence of “workplace violence” occurs at any of the Insured’s
premises during the policy period, the Company will reimburse the Insured for expenses
incurred for the emotional counseling of employees of the Insured, during the policy
period. The limit for this coverage will be $5,000 per policy period for all Insureds
combined. No deductible applies to this coverage.

F. Kidnap Expense

The Company will pay on behalf of any Officer or Director of the Insured, reasonable
fees incurred as a result of the kidnapping of them or their spouse, “domestic partner”,
parent or child during the policy period, subject to a limit of $50,000 each Policy Period,
but not subject to any deductible. Coverage will not apply to any kidnapping by or at the
direction of any present or former family member of the victim.

Reasonable fees will include:

1. fees and expenses of an independent negotiator or consultant retained with prior
approval of the Company;

2. interest on any loan taken by the Named Insured to pay Damages covered under this
Policy; provided, however, that the Company shall not be liable for any interest
accruing prior to thirty (30) days preceding the date of such payment, nor
subsequent to the date of reimbursement from the Company for any portion of
damages recoverable under this Policy;

3. costs of travel and accommodations incurred by the Named Insured which become
necessary due to the applicable kidnapping;

4. the reward paid by the Named Insured, which is pre-approved by the Company, to
an informant for information not otherwise available which leads to the arrest and
conviction of persons responsible for any damages under this Policy; and

5. current salary to an Officer or Director of the Insured who is kidnapped; provided,
however, that the employee shall be held for more than thirty (30) days. Salary shall
be paid for a period commencing upon abduction and ceasing upon the earliest of
either the release of the employee or discovery of the death of the employee, or 120
days after the Company receives the last credible evidence that the employee is still
alive, or twelve (12) months after the date of kidnapping, or the exhaustion of the
kidnap expense limit, whichever comes first.

G. Key Individual Replacement Expenses

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H.

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The Company will pay “Key Individual Replacement Expenses’ if the Chief Executive
Officer or Executive Director suffers an “injury” during the Policy Period which results in
the loss of life during the Policy Period. The “Key Individual Replacement Expenses”
amount shall be the lesser of $50,000 or ten (10) times the annual premium paid for this
policy. No deductible applies to this coverage.

Image Restoration and Counseling

The Company shall reimburse to the Insured expenses incurred for image restoration

and counseling arising out of “Improper Acts” by any natural person Insured up to a limit

of $5,000 per Policy Period for all Insureds combined. Covered expenses are limited to:

1. the costs of rehabilitation and counseling for the accused natural person Insured
provided the natural person Insured is not ultimately found guilty of criminal
conduct, said reimbursement to occur after acquittal of the natural person Insured;

2. the costs, charged by a recruiter or expended on advertising, of replacing an
Officer as a result of “Improper Acts”; and

3. the costs of restoring the Named Insured’s reputation and consumer confidence
through image consulting.

No deductible applies to this coverage.

|. Donation Assurance

The Company shall reimburse the insured for “Failed Donation Claim(s)’. The limit for
this coverage will be $5,000 per policy period for all Insureds combined. No deductible
applies to this coverage.

With respect to any “Failed Donation Claim’, it is further agreed as follows:

1. the donor must never have been in bankruptcy, nor have filed for
bankruptcy/reorganization prior to the time said pledge was made to the Insured;

2. for non-cash donations, payment by the Insurer of a “Failed Donation Claim” shall
be based on the fair market value of said non-cash donation at the time of the
“Failed Donation Claim;”

3. in the case of unemployment/incapacitation of a natural person donor and as a
condition of payment of the “Failed Donation Claim;”

(a) neither the natural person donor nor the Insured shall have had reason to
believe the donor would become unemployed or incapacitated subsequent to
the donation date and;

(b) the donor shall be unemployed for at least 60 days prior to the Insurer making
payment;

4. no coverage shall be afforded for a written pledge of funds or other measurable

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PI-BELL-1 (04/06)

tangible property to the Insured dated prior to the Policy Period;

5. adonation amount which is to be collected by the Insured over more than a 12
month period shall be deemed a single donation.

J. Business Travel

The Company will pay a Business Travel Accidental Death Benefit to the Named Insured
if a Director or Officer suffers an “injury” while traveling on a common carrier for business
purposes during the Policy Period which results in loss of life not later than 180 days
after the Policy Period expiration, the date of cancellation or the date of non-renewal.
The Accidental Death Benefit amount shall be $5,000 per occurrence. No deductible
applies to this coverage. The “injury” must be reported to the Company during the Policy
Period.

The Business Travel Accidental Death Benefit shall not be payable if the cause of the
“injury” that resulted in loss of life was:

1. an intentional act by the insured;

2. an act of suicide or attempted suicide, whether or not the deceased was sane or
insane at the time of the attempted suicide;

3. an act of war;

4. adisease process.

IV. Definitions

A.

“Certified Act of Terrorism”, whenever used in this endorsement-will mean any act so
defined under the Terrorism Risk Insurance Act of 2002.

“Domestic Partner’, whenever used in this endorsement means any person who
qualifies as a domestic partner under the provisions of any federal, state or local statute
or regulation, or under the terms and provisions of any employee benefit or other
program established by the Named Insured.

“Emergency Travel Expenses”, whenever used in this endorsement will mean:

4. hotel expenses incurred which directly result from the cancellation of a scheduled
transport, by train or air, by a commercial transportation carrier resulting directly from
and within forty-eight hours of a “Certified Act of Terrorism;” and

2. the increased amount incurred in air or train fare which may result from re-
scheduling comparable transport, to replace a similarly scheduled transport
canceled by a commercial transportation carrier in direct response to a “Certified Act
of Terrorism.”

. “Failed Donation Claim’, whenever used in this endorsement will mean written notice to

the Insured during the Policy Period of:

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1. the bankruptcy or reorganization of any donor whereby such bankruptcy or
reorganization prevents the donor from honoring a prior written pledge of funds
or other measurable tangible property to the Insured;

2. the unemployment or incapacitation of a natural person donor preventing him/her
from honoring a prior written pledge of funds or other measurable tangible
property to the Insured.

E. “Identity Theft “, whenever used in this endorsement means the act of knowingly trans-
ferring or using, without lawful authority, a means of identification of any Officer or
Director (or spouse thereof) of the Named Insured with the intent to commit, or to aid or
abet another to commit, any unlawful activity that constitutes a violation of federal law or
a felony under any applicable state or local law.

F. “Identity Theft Expenses”, whenever used in this endorsement means:

1. costs for notarizing affidavits or similar documents attesting to fraud required by
financial institutions or similar credit grantors or credit agencies;

2. costs for certified mail to law enforcement agencies, credit agencies, financial
institutions or similar credit grantors;

3. loan application fees for re-applying for a loan or loans when the original
application is rejected solely because the lender received incorrect credit
information.

G. “Improper Acts”, whenever used in this endorsement means any actual or alleged act of:
1. sexual abuse;
2. sexual intimacy;
3. sexual molestation; and/or
4. sexual assault;
committed by an Insured against any natural person who is not an Insured. Such

“Improper Acts” must have been committed by the Insured while in his or her capacity as
an insured.

H. “injury”, whenever used in this endorsement means any physical damage to the body
caused by violence, fracture or an accident that results in physical damage or hurt.

|. “Key Individual Replacement Expenses”, whenever used in this endorsement means the
following necessary expenses:

4. costs of advertising the employment position opening;

2. travel, lodging, meal and entertainment expenses incurred in interviewing job

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applicants for the employment position opening; and

3. miscellaneous extra expenses incurred in finding, interviewing and negotiating with
the job applicants, including, but not limited to, overtime pay, costs to verify the
background and references of the applicants and legal expenses incurred to draw up
employment contracts.

J. “Unforeseeable Destruction”, whenever used in this endorsement means damage
resulting from a “Certified Act of Terrorism”, fire, crash or collapse which renders all of
the Insured’s primary office completely unusable.

K. “Workplace violence”, whenever used in this endorsement means any intentional use of
or threat to use deadly force by any natural person, with intent to cause harm and that
results in bodily “injury” or death of a member of the Insured or any other natural person
while on the Insured’s premises.

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PI-PLSP-2(08/2004)

PROFESSIONAL LIABILITY FOR SPECIFIED PROFESSIONS
THIS IS A CLAIMS MADE POLICY - PLEASE READ IT CAREFULLY

In consideration of the payment of the premium and in reliance upon all statements and information furnished
to the insurance company shown in the Declarations (a stock insurance company, herein called the
Company), including all statements made in the application form and its attachments and the material
incorporated therein and made part hereof, the Company agrees as follows:

INSURING AGREEMENTS
1. COVERAGE

The Company shall pay on behalf of the Insured all sums, not exceeding the Limits of Liability and in
excess of the applicable Deductible set forth in the Declarations, for which the Insured shall become
legally obligated to pay as Damages resulting from any Claim first made against the Insured and
reported to the Company by written notice during the Policy Period; PROVIDED ALWAYS THAT
such Claim is by reason of a Wrongful Act committed:

A. During the Policy Period, or
B. Prior to the Policy Period and subsequent to the Retroactive Date stated in Item 6 of the
Declarations provided that prior to the effective date of this Policy:
4. The Insured did not give notice of any such Wrongful Act under any prior insurance
policy; and
2. The Insured had no basis to believe that such Wrongful Act might reasonably be
expected to give rise to a Claim under this Policy.

I. EXPENSES AND SUPPLEMENTARY PAYMENTS

With respect to such insurance as afforded by this policy, the Company shall, pay, provided the Limits
of Liability have not been exhausted and in excess of the Deductible as stated in the Declarations:

A. Claim Expenses incurred in the defense of any Claim or suit against the Insured seeking
Damages to which this insurance applies.

B. Premiums on bonds to release attachments and appeal bonds, limited to that portion of such bonds
that does not exceed the Limits of Liability of this policy, but without any obligation to apply for or
furnish such bonds;

C. Costs taxed against the Insured in any suit and Claim Expenses incurred by the Company;

D. Interest accruing after the entry of judgment, but only for that portion of the judgment which does not
exceed the applicable Limits of Liability, until the Company has tendered or paid such judgment as
does not exceed the Company's Limit of Liability thereon; and

E. Reasonable expenses incurred by the Insured at the Company's request in assisting in the
investigation and defense of any Claim, other than loss of earnings.

All of the foregoing costs, charges and expenses of investigation and legal defense payable by the Company
are included in the Company's applicable Limit of Liability as stated in the Declarations. Any such costs
incurred in the investigation or defense of any Claim will be applied against the Deductible amount as stated in
the Declarations.

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lil. DEFENSE AND SETTLEMENT

A. The Company, in the Insured'’s name and on the Insured's behalf, shall have the right to
investigate, defend, and conduct settlement negotiations, including selection of defense counsel, in
any Claim or suit.

B. The Company shall not settle any Claim without the consent of the Insured, such consent not to be
unreasonably withheld. Should the Insured refuse to consent to any settlement recommended by the
Company, and acceptable to the claimant, and elect to further contest the Claim, the Company's
liability for the Claim shall not exceed the amount for which the Claim could have been settled in
excess of the Insured's Deductible, or the Limits of Liability as stated in Item #4 of the Declarations,
whichever is less, including items payable under Section II of this policy up to the date of such
refusal.

C. The Insured shall not admit liability for, or make any voluntary settlement, or incur any costs or
expenses in connection with any Claim except with the written consent of the Company.

D. The Company shall not be obligated to pay any Claim or judgment or Claim Expenses or to defend
any suit after the applicable Limits of Liability have been exhausted.

DEFINITIONS

IV. THE FOLLOWING WORDS AND PHRASES APPEARING IN BOLD AND/OR QUOTATION MARKS
HAVE SPECIAL MEANING WHENEVER USED IN THIS POLICY:

A. Bodily Injury means physical injury, sickness or disease sustained by a person, including death
resulting therefrom at any time. Bodily Injury also includes disability, mental anguish, mental injury,
shock or fright resulting from or in Bodily Injury.

B. Claim means a demand receive by the Insured for money, including the service of suit or institution
of arbitration proceedings involving the Insured.

C. Claim Expenses means fees charged by any lawyer designated by the Company and all other fees,
costs, and expenses resulting from the investigation, adjustment, defense, and appeal of a Claim, if
incurred by the Company. Claim Expenses shall not include salary charges of regular employees of
the Company or loss of earnings incurred by the Insured.

D. Damages means a monetary judgment, award or settlement and does not include fines, sanctions,
statutory penalties, punitive damages or exemplary damages, including those based upon legal fees
whether imposed by law, court or otherwise.

E. Insured means:

4. The individual, partnership, corporation or other entity named in Stem 1 of the Declarations
and shall include any partner, director, officer or employee thereof while acting within the
scope of their duties as such.

2. Any former or retired partner, director, officer or employee of the Named Insured or of any
Predecessor Firm but only for those Professional Services rendered on behalf of the

Named Insured prior to the date of separation or retirement from such entity(ies).

3. Any independent contractor associated exclusively with the Named Insured while acting
solely on the Named Insured’s behalf.

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4. The heirs, executors, administrators, assignees, and legal representatives of each Insured
in the event of such Insured's death, incapacity or bankruptcy as respects the liability of
each Insured as is otherwise covered herein.

F. Named Insured means the proprietor, firm or organization specified in Item 1 of the Declarations.

G. Personal Injury means wrongful entry or eviction or other invasion of private occupancy, the
publication or utterance of a libel or slander or other defamatory or disparaging material, or a
publication or an utterance in violation of an individual's right of privacy.

H. Policy Period means the period from the inception date of the policy to the date of expiration as set
fourth in Item 2 of the Declarations or such earlier termination date, if any.

|. Predecessor Firm means any firm or corporation engaged in providing Professional Services as
stated in Item 8 of the Declarations and to whose financial assets and liabilities the Named Insured
is the majority successor in interest.

J. Professional Services means services rendered to others for a fee solely in the conduct of the
Insured's profession as stated in Item 8 of the Declarations.

K. Property Damage means physical injury to tangible property, including all resulting loss of use of
such property or loss of use of tangible property that is not physically injured.

L. Termination of Coverage means, whether made by the insurer or the insured at anytime:
1. cancellation or nonrenewal of a policy; or’

2. decrease in limits, reduction of coverage, increased of deductible, new exclusion, or any
other change in coverage less favorable to the insured.

M. Wrongful Act means a negligent act, error, or omission committed or alleged to have been

committed by the Insured or any person for whom the Insured is legally liable in the rendering of
Professional Services.

EXCLUSIONS

V. THIS POLICY DOES NOT APPLY TO ANY CLAIM AND CLAIM EXPENSES ARISING OUT OF:
A. any fraudulent, dishonest, criminal, intentional, willful or malicious acts or assault or battery.
However, the Insured shall be reimbursed for all amounts which would have been collectable under
this policy if such allegations are not subsequently proven.

B. Bodily Injury, or Property Damage, or Personat Injury.

C. any non-pecuniary relief, fines or penalties imposed by law or other matters which may be deemed
uninsurable under the law pursuant to which this policy may be construed.

D. any failure to effect or maintain any insurance or bond.

E. the gaining in fact of any personal profit or advantage to which the Insured is not legally entitled, or
out of disputes involving the Insured’s fees or charges.

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F. any infringement of copyright, patent or trademark or any violation of the Securities Exchange Act of
1933 as amended, the Securities Exchange Act of 1934 as amended, any state Blue Sky or
Securities Law or any rules, regulations or amendments issued in relation to such acts, or any similar
state or federal statutes or regulations.

G. the breach of fiduciary duty, responsibility or obligation in connection with any employee benefit or
pension plan including the Employees Retirement Income Security Act of 1974 (ERISA) including
any amendments or State or local laws.

H. any express warranties or guarantees or; the Insured assuming liability under contract unless the
Insured would have been legally liable in the absence of such contract.

]. any Claim brought by any Insured against another Insured.

J. any pending or prior litigation as of the inception date of this policy, as well as all future Claims or
litigation based on the pending or prior litigation derived from the same or essentially the same facts
(actual or alleged) that gave rise to the prior or pending litigation.

K. the refusal to employ, termination of employment or other employment-related policies, acts or
omissions.

L. the discharge, dispersal, release or escape of smoke, vapors, soot, fumes, acids, alkalies, toxic
chemicals, liquids or gases, waste materials or other irritants, contaminants or pollutants into or upon
land, the atmosphere or any water-course or body of water or any cost or expense arising out of any
governmental direction or request to test for, monitor, clean up, remove, contain, treat, detoxify or
neutralize any pollutants.

M. the actual or alleged discrimination arising out of but not limited to the basis of age, color, race, sex,
creed, national origin, religion, disability or marital status.

N. services as an attorney, accountant, actuary, tax preparer, tax consultant, real estate broker,
securities broker, securities dealer, registered representative of a securities broker or dealer,
mortgage broker, financial planner, doctor of medicine or dentistry, architect or engineer.

O. any Professional Services performed for any entity in which any Insured is a principal, partner,
officer, director or a more than three percent (3%) shareholder.

No Wrongful Act of any Insured nor any fact pertaining to any Insured shall be imputed to any other partner,
director, officer or employee for the purposes of determining the applicability of Exclusions A and E.

CONDITIONS

Vi. LIMITS OF LIABILITY

Regardless of the number of (a) Insureds under this policy, (b) persons or entities who allege Damages or (c)
Claims made or suits brought, the Company's liability is limited as follows:

A. The company shall be liable to pay that portion of any Damages and Claim Expenses in excess of
the applicable Deductible as stated in the Declarations for any one Claim up to the Limits of Liability
as stated in Item 4 of the Declarations. A deductible shall apply to each and every Claim, including
Claim Expenses, and such Deductible shall be borne by the Insured. The Deductible shall be
uninsured and be at the Insured's own risk.

B. The Company's maximum aggregate liability for all Damages and Claim Expenses arising out of
all Claims made and reported during the Policy Period shall be the Limit of Liability stated in the

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Declarations as aggregate. The Limit of Liability during any Extended Reporting Period added to this
policy shall be the remaining portion, if any, of the aggregate Limit of Liability provided by this policy
as stated in Item 4 of the Declarations.

C. Claims based on or arising out of the same act or circumstance, or a series of similar or related acts
or circumstances shall be considered a single Claim and shall be considered first made during the
Policy Period or the Extended Reporting Period (if applicable), of the policy in which the earliest
Claim arising out of such act(s) or circumstance(s) was first made and all Damages and Claim
Expenses shall be subject to the same each Claim Limit of Liability.

Vil. GENERAL CONDITIONS

A. Policy Territory: The insurance afforded applies worldwide provided Claim is made and suit is
brought against the Insured within the United States Of America, its territories or possessions,
Puerto Rico, or Canada.

B. Notice and Claim Reporting Provisions: Notice hereunder shall be given by or on behalf of the
Insured in writing to the Company at One Bala Plaza, Suite 100, Bala Cynwyd, PA 19004 Attn:
Claims Department or to any Authorized Representative of the Company.

1. The Insured shall, as a condition precedent to the obligations of the Company under this
policy, give written notice to the Company as soon as practicable during the Policy Period,
or during the Extended Reporting Period (if any) of any Claim made against the Insured.

2. If during the Policy Period, or during the Extended Reporting Period (if any), the Insured
shall become aware of any circumstance which could reasonably be expected to give rise to
a Claim the Insured shall give written notice to the Company regarding all particulars of
said incident as soon as practicable. Such written notice of any circumstance must include:

a. the specific Wrongful Act; and
b. the Damages which have or may result from such Wrongful Act; and
c. the circumstances by which the Insured first becomes aware of such Wrongful Act.

Any Claim then arising out of such Wrongful Act will be considered to have been first made
at the time of the original notice.

C. Extended Reporting Period:

4. Ifthe Company or the Insured cancels or refuses to renew this policy for reasons other than
non-payment of premium, the Company will provide to the Insured a 60 day extension of
the coverage granted by this policy, at no additional charge, for any Claim first made against
the Insured and reported to the Company during the 60 day extension period but only as
respects Wrongful Acts committed after the Retroactive Date (if any) stated in the
Declarations and prior to the date of cancellation or non-renewal.

2. If the Company or the Insured cancels or refuses to renew this policy for reasons other than
non-payment of premium, the Insured shall have the right to purchase, for an additional
payment, a Supplemental Extended Reporting Period of one of the following durations: 12
months; 24 months; 36 months; 48 months; 60 months, or unlimited. This extension will
provide coverage granted by this policy for any Claim first made against the Insured and
reported to the Company during the Supplemental Extended Reporting Period and starts
when the 60 day extension period under 1. above ends. This Supplemental Extended
Reporting Period only applies to Wrongful Acts committed after the Retroactive Date (if
any) stated in the Declarations and prior to the date of cancellation or non-renewal. The

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Insured must apply for this extension in writing prior to the expiration of the 60 day
extension period under 1. above.

3. All premium paid with respect to an extension period shall be deemed to be fully earned as
of the first day of the extension period. For the purpose of this clause, any change in
premium terms or other terms on renewal shall not constitute a refusal to renew.

4. Limits of Liability available during any Extended Reporting Period shall not exceed the
balance of the Limits of Liability in effect at the time the policy terminated.

D. Deductible: It is the first Named Insured's responsibility to pay the deductible amount as stated in
Item 5 of the Declarations as the result of each Claim. The Company may pay part of or all of the
Deductible amount to effect a settlement of any Claim, however, upon notification of any such action
taken, the Named Insured shall promptly reimburse the Company for all of the Deductible amount
as has been paid by the Company.

E. Duties of the Insured in the event of a Claim:

4. As soon as practicable the Insured shall give written notice containing particulars sufficient
to identify the Insured, time, place and underlying circumstances of the Claim to the
Company.

2. The Insured shall admit no liability, make no payments, assume no obligation and incur no
expense related to such Claim without the written consent of the Company.

3. When a Claim is made against an Insured the Insured shall immediately forward to the
Company every demand, notice, summons, or other process received by the Insured or the
Insured's representatives.

4. The Insured shall cooperate with the Company and upon the Company's request assist in
making settlements and in the conduct of suits. The Insured shall attend hearings, trials and
depositions and shall assist in securing and giving evidence and in obtaining the attendance
of witnesses.

5. The Insured shall not demand or agree to arbitration of any Claim without the written
consent of the Company. Such consent shall not be unreasonably withheld.

F. Subrogation: If the Company pays any amount hereunder as Damages, Claim Expenses or any
combination thereof, it shall be subrogated to the Insured's rights of recovery against any person,
firm or organization. The Insured shall execute and deliver instruments and papers and do whatever
is necessary to secure such rights. The Insured shall not waive or prejudice such rights prior to or
subsequent to any Claim.

G. Changes: Notwithstanding anything to the contrary, no provision of this policy may be amended,
waived or otherwise changed except by endorsement issued by the Company to form part of this

policy.
H. Action Against the Company:

4. No action shall lie against the Company unless, as a condition precedent thereto, there
shall have been compliance with all terms of this policy, nor until the amount of the
Insured's obligation to pay shall have been finally determined either by judgement entered
in a court of law against the Insured or by written agreement of the Insured, the claimant or
claimant's legal representative and the Company.

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2. Any person or the legal representatives thereof who has secured such a judgment or written
agreement shall thereafter be entitled to recover under this policy to the extent of the
insurance afforded by this policy. No person or entity shall have any right under this policy to
join the Company as a party to any action against the Insured to determine the Insured's
liability, nor shall the Company be impeded by the Insured or their legal representatives.
Bankruptcy or insolvency of the Insured or their successors in interest shall not relieve the
Company of its obligations hereunder.

I. Mergers and Acquisitions: In the event of a merger or acquisition involving the Named Insured, it is
a condition of this policy to the continuation of coverage that the Named Insured shall notify the
Company within thirty (30) days of such merger or acquisition. Should a material change occur in
the size or business operations of the Named Insured the Company shall be entitled to:

1. Re-negotiate the premium or other terms of this policy; and

2. Discontinue coverage by cancellation under section VII_J.2. below.

J. Cancellation or Non-Renewal:

1. This policy may be canceled by the Named Insured by surrender thereof and selection of a
future date to the Company at its address stated in the Declarations or by mailing to the
Company written notice stating when thereafter such cancellation shall be effective. If this
policy is canceled by the Insured the Company shall retain the customary short-rate portion
of the premium.

2. The policy may be canceled by the Company by mailing to the Named Insured at the
address stated in the Declarations written notice stating when, not less than forty-five (45)
days thereafter or ten (10) days in the case of cancellation for non-payment of premium or
deductible, such cancellation shall become effective. If the policy is canceled by the
Company, earned premium shall be computed pro-rata.

3. In the event the Company refuses to renew this policy, the Company shall mail to the
Named Insured, at the address stated in the Declarations, not less than forty-five (45) days
prior to the expiration of this policy, written notice of non-renewal. Such notice shall be
conclusive on all Insureds.

4. The mailing of Notice of Cancellation or Non-Renewal as aforementioned shall be sufficient
notice of the intent to cancel or non-renew. The effective date of cancellation or non-renewal
specified in the notice shall terminate this Policy Period. Delivery of such notice shall be
equivalent to mailing.

K. Conformity to Statutes: Terms of this policy which are in conflict with the statutes of the state
wherein this policy is issued are hereby amended to conform to such statutes.

L. First Named Insured: If there is more than one Insured covered by this policy the First Named
Insured shall act for all Insureds as respects payment of premium, deductibles, return premium
accepting and refusing changes and election of extended reporting period. All notices relating to this
insurance will be sent to the First Named Insured and will serve as notice to all Insureds.

M. Assignment: Assignment of interest under this policy shall not bind the Company unless its
consent is endorsed hereon.

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N. Authorization Clause: By acceptance of this policy, the Insured agrees that the statements in the
Application are its agreements and representations that this policy is issued in reliance upon the truth
of such representations. This policy embodies all existing agreements between the Insured and the
Company relating to this insurance.

O. Other Insurance: This insurance is excess over any other valid and collectable insurance available
to the Insured except as respects such insurance written to apply specifically in excess of this
insurance.

P. Liability Coverage Disputed and Reservation of Rights: If a controversy or dispute arises with
regard to whether coverage exists with respect to a Claim submitted by the Insured under the
coverage sections of this policy the Company may elect to provide a defense under a Reservation of
Rights whereby the Company reserves its rights to deny and reject any Claim for Damages. In the
event it is finally established by judgment or agreement that the Company has no liability with
respect to such a Claim, the Insured shall reimburse the Company upon demand all sums and
monies paid by the Company to defend and/or settle such Claim.

Q. False or Fraudulent Claims: If any Insured shail commit fraud in presenting any Claim as regards
amounts or otherwise, this insurance shall become void as to such Insured from the date such
fraudulent Claim is presented.

IN WITNESS WHEREOF, THE COMPANY HAS CAUSED THIS POLICY TO BE SIGNED BY THE
PRESIDENT AND SECRETARY OF THE COMPANY. THIS POLICY SHALL NOT BE VALID UNLESS
COUNTERSIGNED ON THE DECLARATIONS PAGE BY A DULY AUTHORIZED REPRESENTATIVE OF
THE COMPANY.

SECRETARY PRESIDENT

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PI-PLSP-10 (4-97)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
CAREFULLY.

NUCLEAR ENERGY LIABILITY EXCLUSION

In consideration of the premium paid, it is agreed that the Company shall not be liable to make
any payment for "Damages" or "Claim Expenses" in connection with any "Claim" made against
any "Insured" based upon or attributable to any "Bodily Injury" or "Property Damage" resulting
from radioactive, toxic or explosive properties of nuclear material which includes, but is not limited
to, "source material", "special nuclear material" and "by product material” as those terms are
defined in the Atomic Energy Act of 1954 and any amendments thereto and any similar provisions

of any federal, state or Jocal statutory or common law.

All other terms and conditions of this Policy remain unchanged.

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PI-PLSP-16 (4-97)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
CAREFULLY.

PENDING AND/OR PRIOR LITIGATION EXCLUSION

In consideration of the premium charged, it is agreed that Section V, EXCLUSIONS, J is deleted
and replaced with the following:

J. Any pending and/or prior litigation as of 04/23/2007 , as well as all future "Claims"
arising out of said pending and/or prior litigation.

All other terms and conditions of this Policy remain unchanged.

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PI-PLSP-102 (4-97)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT
CAREFULLY.

BANKRUPTCY/INSOLVENCY EXCLUSION

In consideration of the premium paid, it is agreed that this Policy does not apply to any Claim
against the Insured arising out of, based upon, or attributable to:

I. the bankruptcy, insolvency or financial failure of the Insured; or

I. the Insured's seeking protection under federal bankruptcy laws (or any similar laws);
or

IW. the bankruptcy, insolvency or financial failure of any entity with whom the Insured

transacts business.

All other terms and conditions of this Policy remain unchanged.

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PI-PLSP-145 (08/2004)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

COMPUTER/TECHNOLOGY CONSULTANT PRO-PAK ELITE

This endorsement modifies and is subject to the insurance provided under the following:
PROFESSIONAL LIABILITY FOR SPECIFIED PROFESSIONS

This Policy is amended as follows:

1. The following is added to DEFINITIONS, section IV of the policy:

The term "Computer Consultant” or “Technology Consultant” as stated in Item 8 of the
Declarations is defined as follows:

"Computer Consultant” and “Technology Consultant” both mean an individual or firm
retained by a third party for the purpose of:

1. analysis of operating problems and client needs associated with computer hardware and
software;

2. creation, recommendation, installation and/or implementation of computer hardware and
software;

3. customization of, servicing of and monitoring of computer hardware and software; and

4. training of personnel in the utilization of computer hardware and software.

“Unauthorized access" means a third party's access to a computer, computer system, or
computer network, with authorization or exceeding authorization.
2. DUTY TO DEFEND COVERAGE

Section Ill. DEFENSE AND SETTLEMENT, A. is deleted and replaced with the following:

A. The Company, in the “Insured’s” name and on the “Insured’s” behalf, shall have the right
and the duty to investigate, defend and conduct settlement negotiations, including selection of
defense counsel, in any “Claim” or suit, even if such suit or “Claim” is groundless, false, or
fraudulent.

3. WORLDWIDE COVERAGE
Section VIl. GENERAL CONDITIONS, A. is amended to read:

A. Policy Territory:

1. Worldwide coverage is provided for any “Claim” made provided that suit is brought
against the “Insured” within the United States of America, its territories or possessions,
Puerto Rico, or Canada.

2. For any “Claim” made for which suit is brought against the “Insured” outside the United
States of America, its territories or possessions, Puerto Rico, or Canada, the following

conditions will apply:

a. the “Insured” shall undertake the investigation, defense, and settlement of the
“Claim” and keep the “Company” advised of all such proceedings and actions, and;

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b. the Company's obligation under this Policy shall be limited to reimbursement of the
“Insured” for “Damages” and “Claim Expenses.” Any payment under this policy
shall be made in United States dollars at the rate of exchange published in The Wall
Street Journal on the date the final judgement is reached or settlement is agreed
upon.

4. PERSONAL INJURY COVERAGE
Section |. COVERAGE, is deleted and replaced with the following
Il. COVERAGE

The Company shall pay on behalf of the “Insured” all sums, not exceeding the Limits of Liability
and in excess of the applicable Deductible set forth in the Declarations, for which the “Insured”
shall become legally obligated to pay as “Damages” resulting from any “Claim” first made
against the “Insured” and reported to the Company by written notice during the “Policy Period”;
provided always that such “Claim” is by reason of:

1. a “Wrongful Act” or
2. “Personal Injury” (but only when arising out of the performance of “Professional
Services”)
committed during the “Policy Period,” or prior to the “Policy Period” and subsequent to the
Retroactive Date stated in Item 6 of the Declarations provided that prior to the effective date of
this Policy:
a. The “Insured” did not give notice of any such “Wrongful Act” under any prior
insurance policy; and
b. The “Insured” had no basis to believe that such “Wrongful Act” might be
reasonably be expected to give rise to a “Claim” under this Policy.
Section V. EXCLUSION B. is deleted and replaced with the following:

B. (i) “Bodily Injury,” or “Property Damage.”

5. AUTOMATIC INDEPENDENT CONTRACTOR COVERAGE
Section IV. DEFINITIONS, E. 3. is deleted and replaced with the following:
Any independent contractor working under contract with/for the “Named Insured,” but solely as
respects those covered “Professional Services”rendered on behalf of the “Named Insured.”
6. DEFENSE FOR CRIMINAL ACTS SUBJECT TO FINAL ADJUDICATION
Section V, EXCLUSIONS, A is deleted and replaced with the following:
A. Any fraudulent, dishonest, criminal, intentional, willful or malicious acts or assault or battery.
However, the “Company” shall provide a defense for such Claim unless or until a judgement
or final adjudication adverse to the “Insured” shall establish such behavior occurred as an

essential element of the cause of action so adjudicated.

7. PENDING AND/OR PRIOR LITIGATION EXCLUSION

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Section V, EXCLUSIONS, J is deleted and replaced with the following:

Any pending and/or prior litigation as of 04/23/2007 __, as well as all future "Claims” which
may arise out of pertinent pending and/or prior litigation.

8. DEFENSE COSTS IN ADDITION TO THE LIMIT

A. Section Il. EXPENSE AND SUPPLEMENTARY PAYMENTS, is amended in part by deleting the
last paragraph and replacing it as follows:

Any such costs incurred in the investigation or defense of any “Claim” will be applied against the
Deductible amount stated in the Declarations.

B. Section V!. LIMITS OF LIABILITY, is deleted and replaced with the following:

Regardless of the number of (a) “Insureds” under this policy, (b) persons or entities who allege
“Damages” or (c) “Claims” made or suits brought, the Company's liability is limited as follows:

A.

The Company shall be liable to pay that portion of any “Damages” in excess of the applicable
“Deductible” as stated in the Declarations for any one “Claim” up to the Limits of Liability as
stated in Item 4 of the Declarations. A Deductible shall apply to each and every “Claim”,
including “Claim” Expenses, and such Deductible shall be borne by the “Insured.” The
Deductible shall be uninsured and be at the Insured's own risk.

. The Company's maximum aggregate liability for all “Damages” arising out of all “Claims”

made and reported during the “Policy Period” shall be the Limit of Liability stated in the
Declarations as aggregate. The Limit of Liability during any Extended Reporting Period added
to this policy shall be the remaining portion, if any, of the aggregate Limit of Liability provided
by this Policy as stated in Item 4 of the Declarations.

. “Claims” based on or arising out of the same act or circumstance, or a series of similar or

related acts or circumstances shall be considered a single “Claim” and shall be considered
first made during the “Policy Period” or the Extended Reporting Period (if applicable), of the
Policy in which the earliest “Claim” arising out of such act(s) or circumstance(s) was first
made and all “Damages” shall be subject to the same each “Claim” Limit of Liability.

. Payment by the Company of “Claims” Expenses incurred with any “Claim”, shall not serve

to reduce the Limit of Liability stated in Item 4 of the Declarations.

9. ADDITIONAL EXCLUSIONS

Section V, EXCLUSIONS, is amended to include the following:

THIS POLICY ALSO DOES NOT APPLY TO ANY “CLAIM” OR “CLAIM EXPENSES”
ARISING OUT OF:

A.

B.

Any “Wrongful Act” committed with the knowledge that it was a “Wrongful Act.”

Any “Claim” arising out of or connected with the performance or failure to perform services
for any person or entity:

(1) which is owned by or controlled by any “Insured”; or
(2) which owns or controls any “Insured”; or,

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(3) which is affiliated with any “Insured” through any common ownership or control; or,
(4) in which any “Insured” is a director, officer, partner or principal stockholder.

C. Any mechanical or electrical failure, including any power interruption, surge, brownout or
blackout;

D. Any sale or defect of any non-customized commercially available computer software or
hardware products;

E. The failure to prevent unauthorized access to or use of an electronic system or computer
program, unless such unauthorized access or use is a result of a malfunction of the
“Insured's” security software products;

F. Any “Claim” arising out of the failure of any real or intangible property to have at any point or
points in time any guaranteed economic value.

G. Any “Claim” arising out of the transfer of funds, monies, or securities to or from any account
or institution; or guaranteeing of the availability of funds; or representation of a specified rate
of return and/or interest;

H. Any “Claim” based upon or arising out of incorrect description of any article or commodity or
any mistake in advertised price or any false, misleading, deceptive or fradulent advertising.

10. IDENTITY THEFT EXPENSES

We will reimburse the “Named Insured,” on behalf of any “Insured,” for “Identity Theft
Expenses” incurred as the direct result of any one “Identity Theft” first discovered and
reported during the “Policy Period;” provided that it began to occur subsequent to the
effective date of the “Insured’s” first policy with the Company. The limit of liability for this
coverage will be $1,000 per “Policy Period” for all “Insureds” combined. No deductible applies
to this coverage.

“Identity Theft,” whenever used in this policy means the act of knowingly transferring or using,
without lawful authority, a means of identification of any “Insured” with the intent to commit, or to
aid or abet another to commit, any unlawful activity that constitutes a violation of federal law or a
felony under any applicable state or local law.

“Identity Theft Expenses,” whenever used in this policy means:

a. Costs for notarizing affidavits or similar documents attesting to fraud required by
financial institutions or similar credit grantors or credit agencies.

b. Costs for certified mail to law enforcement agencies, credit agencies, financial
institutions or similar credit grantors.

c. Loan application fees for re-applying for a loan or loans when the original application is
rejected solely because the lender received incorrect credit information.

11. TERRORIST TRAVEL REIMBURSEMENT

The Company will reimburse any present partner, officer, director, stockholder, or employee of
the “Named Insured” in the event of a “Certified Act of Terrorism” during the policy period

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which necessitates that he/she incurs “Emergency Travel Expenses.” The limit for this
coverage will be $1,000 per “Policy Period” for all “Insureds” combined. No deductible applies
to this coverage.

“Emergency Travel Expenses” whenever used in this policy will mean hotel expenses incurred
which directly result from the cancellation of a scheduled transport, by train or air, by a
commercial transportation carrier resulting directly from and within forty-eight hours of a
“Certified Act of Terrorism;” and the marginal increase in air or train fare which may result from
re-scheduling comparable transport, to replace a similarly scheduled transport canceled by a
commercial transportation carrier in direct response to a terrorist incident.

“Certified Act of Terrorism” whenever used in this policy will mean any act covered under the
Federal Terrorism Risk Insurance Act of 2002.

12. EMERGENCY REAL ESTATE CONSULTANT FEE

The Company will reimburse the “Insured” any realtor’s fee or real estate consultant's fee
necessitated by the “Insured’s” need to relocate due to the “Unforeseeable Destruction” of
the “Insured’s” location, listed on the declarations page, during the “Policy Period.” The limit
for this coverage will be $1,000 per policy period for all “insured’s” combined. No deductible
applies to this coverage.

“Unforeseeable Destruction” whenever used in this policy will mean Damage resulting from a
“Certified Act of Terrorism” (as defined in Item 11 above), fire, crash or collapse which renders
all of the “Insured’s” primary office completely unusable.

13. TEMPORARY MEETING SPACE COVERAGE

The Company will reimburse the “Insured” for rental of meeting space which is necessitated by
the temporary unavailability of the “Insured’s” primary office space due to the failure of a
climate control system, or leakage of a hot water heater during the policy period. Coverage will
exist only for the renting of temporary meeting space required for meeting with parties who are
not an “Insured” under this policy. The limit for this coverage will be $250 per policy period for
all “Insureds” combined. No deductible applies to this coverage.

14. WORKPLACE VIOLENCE COUNSELING COVERAGE

In the event that an incidence of “Workplace Violence” occurs at the “Insured’s” premises
during the policy period, the Company will reimburse the “Insured” for expenses incurred for the
emotional counseling of members of the “Insured” during the policy period. The limit for this
coverage will be $1,000 per policy period for all “Insureds” combined. No deductible applies to
this coverage.

“Workplace Violence” whenever used in this policy will mean any intentional use of, or threat to
use deadly force by any natural person, with an intent to cause harm and that results in bodily
injury or death of a member of the “Insured” or any other natural person while on the
“Insured’s” premises.

15. THEFT OF WORK MATERIALS FROM PERSONAL AREAS

The Company will reimburse the “Insured” 50% of their deductible for any theft involving “Work

Materials” which are stolen from the “Insured’s Personal Areas” during the “Policy Period,”
which is covered by other insurance. No reimbursement is applicable under this section for thefts

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for which no other insurance policy provides a settlement of any amount. The limit for this
coverage will be $500 per policy period for all “Insureds” combined. No deductible applies to this
coverage.

“Work Materials” whenever used in this policy will mean any items which are used by the
“Insured” solely in the course of providing professional services; inclusive of stores of data and
client records.

“Insured’s Personal Areas” whenever used in this policy will be any residence or automobile
owned or rented by any member of the “Insured.”

16. KIDNAP/RANSOM COVERAGE

The Company will pay on behalf of the “Named Insured,” reasonable fees incurred by the
kidnapping of an “Insured” during the “Policy Period,” provided that it occurs within the United
States, subject to a limit of $50,000 each “Policy Period,” but not subject to any deductible.

Reasonable fees will include:

1. fees and expenses of an independent negotiator or consultant retained with prior approval of
the Company;

2. interest on any loan taken by the “Named Insured” to pay “Damages” covered under this
Policy; provided, however, that the Company shall not be liable for any interest accruing prior to
thirty (30) days preceding the date of such payment, nor subsequent to the date of
reimbursement from the Company for any portion of “Damages” recoverable under this Policy;

3. costs of travel and accommodations incurred by the “Named Insured” which become
specifically necessary due to the applicable kidnapping;

4. the reward paid by the “Named Insured” to an informant for information not otherwise
available which leads to the arrest and conviction of persons responsible for any “Damages”
under this Policy; and

5. salaries to an employee who is kidnapped at the annual rate in effect prior to the kidnapping
paid by the “Named Insured”; provided, however, that the employee shall be held for more than
thirty (30) days. Salary shall be paid for a period commencing upon abduction and ceasing upon
the earliest of either the release of the employee or discovery of the death of the employee, or
120 days after the Company receives the last credible evidence that the employee is still alive,
or twelve (12) months after the date of kidnapping.

17. CONDITIONS AMENDMENT
The following is added to CONDITIONS, but only with regard to items 11 though 17 above:
In the event that multiple recoveries would otherwise be possible under items 11 through 17

above resulting from the same circumstances, the Company is only liable to pay the greatest
amount applicable under one of the above coverages.

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PI-SLD-001 (01/03)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE
READ IT CAREFULLY.
CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM

This endorsement modifies insurance provided under the following:

PROFESSIONAL LIABILITY

DIRECTORS AND OFFICERS LIABILITY

With respect to any one or more "certified acts of terrorism", we will not pay any amounts for which we are not
responsible under the terms of the federal Terrorism Risk Insurance Act of 2002 (including subsequent acts of
Congress pursuant to the Act) due to the application of any clause which results in a cap on our liability for
payments for terrorism losses.

"Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in concurrence with
the Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the
federal Terrorism Risk Insurance Act of 2002. The federal Terrorism Risk Insurance Act of 2002 sets forth the
following criteria for a "certified act of terrorism":

1. The act resulted in aggregate losses in excess of $5 million; and

2. The act is a violent act or an act that is dangerous to human life, property or infrastructure and is
committed by an individual or individuals acting on behalf of any foreign person or foreign interest, as part
of an effort to coerce the civilian population of the United States or to influence the policy or affect the
conduct of the United States Government by coercion.

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PI-ARB-1 MO (3/05)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY..

BINDING ARBITRATION

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Wherever, used in this endorsement: 1) “we”, “us”, “our”, and “insurer mean the insurance company

which issued this policy; and 2) “you”, “your”, “named insured”, “first named insured”, and “insured” mean

the Named Corporation, the Named Organization, Named Sponsor, Named Insured, or Insured stated in
the declarations page; and 3) “other insured(s)” means all other persons or entities afforded coverage
under this policy.

This endorsement modifies coverage provided under the Coverage Part to which it is attached.

lf we and the insured do not agree whether coverage is provided under this Coverage Part for a claim made

against the insured, both parties may, by mutual consent, agree in writing to arbitration of the disagreement.

If both parties agree to arbitrate, each party will select an arbitrator. The two arbitrators will select a third. If they
cannot agree within 30 days, both parties must request that selection be made by a judge of a court having
jurisdiction. Each party will:

1. Pay the expenses it incurs; and
2. Bear the expenses of the third arbitrator equally.

Unless both parties agree otherwise, arbitration will take place in the county or parish in which the address
shown in the Declarations is located. Local rules of law as to procedure and evidence will apply. A decision
agreed to by two of the arbitrators will be binding.

All other terms of the policy remain unchanged.

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PI-DEF-NOTICE-MO

DISCLOSURE NOTICE

DEFENSE WITHIN LIMITS

| UNDERSTAND AND ACKNOWLEDGE THAT THE ATTACHED POLICY CONTAINS A
DEFENSE WITHIN LIMITS PROVISION WHICH MEANS THAT THE DEFENSE COSTS WILL
REDUCE OUR LIMITS OF INSURANCE AND MAY EXHAUST THEM COMPLETELY. SHOULD
THAT OCCUR, WE SHALL BE LIABLE FOR ANY FURTHER LEGAL DEFENSE COSTS AND
DAMAGES.

Signature
(President, Chairman or Executive Director)

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PI-Notice-MO (4-01)

IMPORTANT NOTICE

To obtain information or make a complaint:

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You may call Philadelphia Indemnity Insurance Company's toll-free telephone number for
information or to make a complaint at

1-877-438-7459
You may write to Philadelphia Indemnity Insurance Company at our principal place of business:
Philadelphia Indemnity Insurance Company
One Bala Plaza, Suite 100
Bala Cynwyd, PA 19004
(610) 617-7900
FAX # (610) 617-7940
ATTACH THIS NOTICE TO YOUR POLICY:

This notice is for information only and does not become a part or condition of the attached
document.

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PI-PLSP-MO-1(10/04)

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

MISSOURI AMENDATORY ENDORSEMENT

This endorsement modifies insurance provided under the following:

PROFESSIONAL LIABILITY FOR SPECIFIED PROFESSIONS

Section VII., Subsection J. Cancellation or Non-Renewal, is deleted and replaced with the following:

J. Cancellation or Non-Renewal:

1.

This policy may be canceled by the Named Insured by surrender thereof and selection of a future
date to the Company at its address stated in the Declarations or by mailing to the Company written
notice stating when thereafter such cancellation shall be effective. If this policy is canceled by the
Insured the Company shall retain the customary short-rate portion of the premium.

The policy may be canceled by the Company by mailing to the Named Insured at the address
stated in the Declarations advance written notice. Notice shall be given at least:

(a) 10 days before the effective date of cancellation, if the Company cancels for nonpayment
of premium or deductible;

(b) 45 days before the effective date of cancellation, if the Company cancels for: fraud or
material misrepresentation affecting the policy or in the presentation of a claim under the
policy; a violation of any of the terms or conditions of the policy; any changes in conditions
after the effective date of the policy which have materially increased the hazards originally
insured; insolvency of the insurer, or involuntary loss of reinsurance for the policy,

(c) 60 days before the effective date of cancellation, if the Company cancels for any other
reason.

If the policy is canceled by the Company, earned premium shall be computed pro-rata.

In the event the Company refuses to renew this policy, the Company shall mail to the Named
Insured, at the address stated in the Declarations, not less than sixty (60) days prior to the
expiration of this policy, written notice of non-renewal. Such notice shall be conclusive on all
Insureds.

The mailing of Notice of Cancellation or Non-Renewal as aforementioned shall be sufficient notice
of the intent to cancel or non-renew. The effective date of cancellation or non-renewal specified in
the notice shall terminate this Policy Period. Delivery of such notice shall be equivalent to mailing.
The Notice of Cancellation or Non-Renewal shall state the reasons for cancellation or non-renewal.

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POLICY CHANGE DOCUMENT

POLICY NO.: PHSD250284

Philadelphia Indemnity Insurance Company] 5167 GALLAHER-TANGORA-RODES INSURANCE

NAMED INSURED LSI Lowery Systems, Inc. dba LSI Teamcen
The Intergrated Business Solutions Group

MAILING ADDRESS = 1329 Horan Dr
Fenton, MO 63026-1939

POLICY PERIOD: FROM 04/23/2007 TO 04/23/2008 at
12:01 A.M. Standard Time at your mailing address shown above.

CHANGE EFFECTIVE 04/23/2007 CHANGE # 1

DESCRIPTION
In consideration of the premium reflected, the policy is amended as indicated below:

Item 6 of the Declarations Page is amended to read:
Retroactive date 04/23/1999

Path ID 2326581

Total Annual Total Prorate
Additional/Return Premium $ 0.00 Additional/Return Premium $ 0.00
NO CHANGE NO CHANGE
COUNTERSIGNED BY
(Date) (Authorized Representative)

Home Office Copy Page 1 of 1
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Change Date: 04/23/2007 PI-PLSP-1 (08/2004)

Philadelphia Insurance Companies

One Bala Plaza, Suite 100, Bala Cynwyd, Pennsylvania 19004
610.617.7900 Fax: 610.617.7940

PROFESSIONAL LIABILITY FOR SPECIFIED PROFESSIONS

Philadelphia Indemnity Insurance Company UO Philadelphia Insurance Company

DECLARATIONS

Policy Number: PHSD250284

NOTICE: THIS IS A CLAIMS MADE AND REPORTED POLICY. PLEASE READ THIS POLICY
CAREFULLY. THE LIMIT OF LIABILITY AVAILABLE TO PAY JUDGMENTS OR SETTLEMENTS
SHALL BE REDUCED BY AMOUNTS INCURRED FOR INVESTIGATION AND LEGAL COSTS.
FURTHER NOTE THAT AMOUNTS INCURRED FOR SUCH COST SHALL BE APPLIED AGAINST
THE DEDUCTIBLE AMOUNT

Item 1. Named Insured and Address:

LSI Lowery Systems, Inc. dba LSI Teamcen
The Intergrated Business Solutions Group
1329 Horan Dr

Fenton, MO 63026-1939

Item = 1a. Agent Name and Address:

GALLAHER-TANGORA-RODES INSURANCE
P.O, BOX 798
MEXICO, MO, 65265

Item 2. Policy Period: From: 04/23/2007 To: 04/23/2008
(12:01 A.M. Standard Time)
Item 3. Premium: $ 6,119.00
Item 4, Limits of Liability: (A) $ 1,000,000 ~— each Claim, including Claims Expense
(B) $ 1,000,000 Annual Aggregate, including Claims
Expense
Item 5, Deductible: $ 7,500 Deductible per Claim
litem 6. Retroactive Date: 04/23/1999
liem = 7. Additional Premium for Supplemental Extended Reporting Period: $ 4,589.25
Item 8. Named Insureds Profession:

Computer Bureaus/Consultants

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Endorsements:

By accepting this Policy, the Insured agrees that the statements in the application are personal
representations, that they shall be deemed material, and that this Policy is issued in reliance upon the

truth of such representations.

Authorized Representative Countersignature Countersignature Date

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